                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

                                                  Case No.4: 16-CR-00348 GAF

 JOHN C. VERSTRAETE.

                               Defendant.

                                     PLEAAGREEMENT

       Pursuant   to Rule ll(c)(I)(e) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.   The Parties. The parties to this agreement are the United States Attomey's Office for

the Westem District of Missouri (otherwise referred to as "the Govemment" or "the United

States"), represented by Jefferson B. Sessions, United States Attomey General, and Sirena Miller

Wissler, Special Attomey to the United States Attomey General, and the defendant, JOHN C.

VERSTRAETE ("the defendant"), represented by CHRISTOPHER J. ANGLES.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attomey's Office for the Westem District of Missouri, and that it does not bind

any other federal, state, or local prosecution authority or any other goverffnent agency, unless

otherwise specified in this agreement.

       2.   Defendant's Guiltv Plea. The defendant a grees to and l.rereby does plead guilty to

Count One and Count Six of the lndictment now charging the defendant with violations       of   18


U.S.C. $$ 134'7 and 1349, Conspiracy to Commit Healthcare Fraud and; 21 U.S.C. $$ 8a1(a)(l)

and 846, Conspiracy to Distribute a Controlled Substance Outside the Course of Legitimate

Medical Practice and Not for a Legitimate Medical Purpose, respectively. In exchange for




         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 1 of 17
defendant's plea of guilty to Count One and Count Six, the govemment agrees to move to dismiss

Count Two, Count Seven, Count Eight, and Count Nine at the time ofsentencing.

       By entering into this plea agreement, the defendant admits that he knowingly committed

these offenses, and is in fact guilty ofthese offenses.

       3.   Factual Basis for Guiltv Plea. The parties agree that the facts constituting the

offenses to which the defendant is pleading guilty are as follows:

Count One   -   Conspiracy to Commit Healthcare Fraud

        Defendant John C. VERSTRAETE is a Doctor of Osteopathy, duly licensed by the
Missouri Board of Healing Arts under license number ----92, and he was also licensed by the
Missouri Bureau of Narcotics and Dangerous Drugs under license number ---88.
VERSTRAETE was registered as a practitioner with the Drug Enforcement Administration to
prescribe, administer, and dispense controlled substances in Schedules II, IIN, III, IIIN, IV, and
V under the provisions of 2l U.S.C. $$ 822 afi823, and21 C.F.R. part 1301. DEA issued
VERSTRAETE registration number ------884 at the business address of 3215 Main Street, Unit
100B, Kansas City, Missouri 64111. VERSTRAETE's DEA registration does not authorize him
to import controlled substances of any kind.

       Defendant VERSTRAETE owned and operated three legal entities at 3215 Main Street,
Unit 100B, Kansas City, Missouri 64111. The first was the House of Elan Medical Spa, LLC.
The second was the primary medical practice entity, Plaza Physicians Group. The third entity
was Mid-America Infectious Disease Consultants, through which Defendant VERSTRAETE
conducted some of his activities with HIV and AIDS patients.

       Defendant VERSTRAETE prescribed Serostim@r to some patients (hereinafter, "HGH


1 Serostim@ is the branded name of a Human Growth Hormone (HGH) product that has been
FDA-approved to treat HIV patients with wasting or cachexia. Serostim@ is a prescription drug
within the meaning of 21 U.S.C. $ 353(bXl). All HGH products were prescription drugs
because oftheir toxicity or other potentiality for harmful effect, or the method oftheir use, or the
collateral measures necessary to their uses, they were not safe for use except under the
supervision of a practitioner licensed by law to administer such drug. The HGH drug products
that U.S. Food and Drug Administration ("FDA") approved under 21 U.S.C. $ 355 could only be
legally prescribed and used under the professional supervision ofa practitioner licensed by law
to administer prescription drugs. Further, the HGH drug products that FDA approved could
only be legally prescribed or used for several specific medical uses. 2l U.S.C. $ 353(b)(lXA)
and (B). The FDA has authorized a limited number of medical uses for HGH under 21 U.S.C.
g 355, including the following uses in adults with: (1) biochemically documented growth
hormone deficiency, diaglrosed either in adulthood or previously diagnosed in childhood and
reconfirmed as an adult; (2) muscle wasting diseases associated with AIDS; and (3) short bowel

                                                  2




          Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 2 of 17
patients") who exhibited a legitimate medical need and for one of the therapeutic uses for which
HGH is approved for use in humans by the FDA. Defendant VERSTRAETE also prescribed
Serostim@ to some patients (hereinafter, "fraudulent HGH patients") who exhibited no
legitimate medical need for HGH. For these fraudulent HGH patients, VERSTRAETE and/or
his co-conspirators made knowingiy false representations to representatives ofvarious public and
private healthcare benefit plans in order to obtain authorization for payrnent for this highly
expensive drug. Medicare and other health care benefit programs do not knowingly cover
payments for HGH or other drugs that obtained or dispensed fiaudulently or illegally.
Generally, Medicare and other health care benefit programs do not knowingly pay for medically
unnecessary drugs or services.

         Some HGH patients, including, but not necessarily limited to, seven (7) individuals who
subsequently confessed to participating in the scheme, then fil1ed the prescriptions for Serostim@
at local pharmacies. Serostim@ was typically dispensed in a thirty-day supply ofvials.
Defendant then submitted or caused to be submitted claims for reimbursement fiom health care
benefit programs that then paid all or some portion ofthe cost ofthe Serostim@ prescribed.
Some HGH patients, including but not limited to seven (7) known individuals who admitted to
participating in the scheme, actually administered only a portion of the Serostim@ prescribed to
them. Instead of using al1 of the vials dispensed to them, some HGH patients brought the
Serostim@ vials to defendant VERSTRAETE'S office, whereupon defendants VERSTRAETE,
JACKSON, EVEN, and others purchased the Serostim@ back from the patients in exchange for
cash. These cash payments, made by VERSTRAETE and/or members of his office staff at his
direction, were made to the fraudulent HGH patients, who received cash for their unused
Serostim@. Payments ofcash were recorded on crude ledgers to reflect monies paid, although
these records are not complete or capable of complete reconciliation. Defendant's cash
pa)4nents to patients were typically substantially iess than what the health care programs had
previously paid for these FDA-approved drugs. These pal,ments typically included the name of
the HGH patient, and the amount paid, preceded by a minus sltnbol.

    Defendant VERSTRAETE and others removed the prescription drug labels from the
Serostim@ and stockpiled the HGH in defendant VERSTRAETE'S office. Defendant
VERSTRAETE and his office staff falsely represented to their patients that they were able to
olfer Serostim@ for a price that was cheaper than a pharmacy because they obtained it from
Canada. Defendant VERSTRAETE and others re-sold the diverted Serostim@ for cash to other
patients to be used for purposes other than those lawfu1ly authorized by the FDA under 21
U.S.C. $ 355. Defendant's cash receipts from fraudulent HGH patients were tlpically
substantially more than what defendant had previously paid to acquire these FDA-approved


syndrome. The FDA had not approved any HGH drug product to prescribe or use for any body-
building, anti-aging or longevity, or weight loss medical uses. The FDCA prohibited the
knowing distribution of, or the possession with intent to distribute, HGH for any use in humans
other than for the reatment of disease or other recognized medical condition where such use has
been authorized by the FDA and that was pursuant to the order ofa physician. 21 U.S.C. $
333(e).




                                                3




         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 3 of 17
drugs from other patients. Defendant VERSTRAETE did not issue prescriptions when re-
selling the Serostim@ to fraudulent HGH patients.

       The precise dollar amount lost by health care benefit programs or gained by defendant
because of the fraud perpetrated by defendant VERSTRAETE and his staffas a result      ofthe
"Serostim@" scheme is unknown. However, the parties are in agreement that the total amounts
disbursed by Medicare and./or Medicaid (or other private healthcare benefit programs) as to the
seven (7) identified fraudulent HGH patients who admitted to participating in the scheme
between 2012 and November 2014 for HGH was in excess of $1.5 million. Defendant
VERSTRAETE acknowledges that this $ 1.5 million figure constitutes a reasonable estimate of
the actual loss to the victim healthcare benehts programs and agrees to make full restitution in
this amount.

(lount Six - Conspiracy to Disocnsc a Co ntrolled Substance Outside thc Scope of
Leeitinlate Medrcal Praelliee ald Not for a Legitimate Medical Purpose

         Between approximately August 201 I and November 2014, defendant VERSTRAETE
and members ofhis office, acting at his direction, acquired supplies ofanabolic steroids and
maintained those supplies at VERSTRAETE's office. Tlpically, members of defendant's staff
found persons who claimed to be selling anabolic steroids over the Intemet, and sent them
money in exchange for what the sellers claimed were anabolic steroids. The illegal foreign
sellers then shipped what appears to be unapproved anabolic steroids that had been manufactured
in foreign unregistered drug facilities to the United States. The substances labeled as anabolic
steroids that were acquired by defendant and his staff were therefore different fiom the FDA-
approved anabolic steroid drugs that can be legally prescribed and used in the United States, as
FDA never considered new drug applications for these foreign substances or inspected any drug
manufacturing facilities where these substances could have been manufactured. The quality or
dosage potency ofall of the foreign substances acquired by defendant and his staffis unknown.
Some of the substances acquired by defendant did contain anabolic steroids, including
Trenbolone and Stanozolol, both of which are Schedule III controlled substances.

        Thereafter, defendant VERSTRAETE and members ofhis office staffdispensed those
anabolic steroid controlled substances to patients having no legitimate medical need for the
same. By obtaining these drugs from illicit sources outside the United States, and by dispensing
them despite a lack of medical need and without a valid prescription, defendant VERSTRAETE
acted outside the scope ofany legitimate medical practice. Records and items ofphysical
evidence seized fiom VERSTRAETE's office and/or computer reveal that between 2012 and
December 2014, VERSTRAETE and/or persons in his employ purchased approximately 25,000
units of Schedule III controlled substances (anabolic steroids), none of which were legally
purchased or prescribed.

      Defendant acknowledges that while the information set out herein may not allege exact
amounts ofmoney and/or controlled substances for which he is accountable by virtue ofhis own
conduct and the conduct of co-conspirators reasonably foreseeable to him, the parties are in
agreement that   the quantity   of   Schedule   III   controlled substances   for which defendant

                                                 4




         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 4 of 17
VERSTRAETE is accountable under Count III is difficult to calculate with precision. However,
based upon the known evidence, including statements of cooperating witnesses, documentary
evidence, and seizures ofphysical evidence, the parties agree that based upon his own conduct and
the conduct of co-conspirators reasonably foreseeable to him, defendant VERSTRAETE is
accountable for more than 25,000 units of Schedule III anaboiic steroids. When converted to
marijuana pursuant to the Drug Equivalency Tab1e, these 25,000 units of anabolic steroids are
equivalent to 25 kilograms of marijuana, resulting in an agreed-upon base offense level of l6
pursuant to Section 2D1.1(c)(15). However, they will ultimately be bound by the U.S.S.G. drug
level determined by the court at the sentencing hearing.

         4.   Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions ofthis plea

agreement     will   be used for the purpose of determining defendant's guilt, any applicable statutory

minimum sentences, and defendant's advisory sentencing range under the United                     States


Sentencing Guidelines (.'U.S.S.G."), including the calculation of the defendant's offense level in

accordance    with U.S.S.G. $ 1B1.3(a)(2). The defendant acknowledges, understands and            agrees

that the conduct charged in any dismissed counts of any of the indicbnents as well as all other

uncharged related criminal activity may be considered as "relevant conduct" pursuant to U.S.S.G.

g 1B1.3(aX2) in calculating the offense level for the charges to which defendant is pleading guilty.

         5.   Statutory Penalties. The defendant understands that upon pleading guilty to the

Count One of the Indictment as outlined herein, charging a violation of        l8 U.S.C. $$ 1347 and

I   349, Conspiracy to Commit Healthcare Fraud, the maximum penalty the Court may impose is           l0

years imprisonment and a $250,000.00 fine, with not more than three (3) years            of   supervised

release to follow any term of imprisonment imposed.

         The defendant understands that upon pleading guilty to the Count Six ofthe Indictment as

outlined herein, charging a violation     of2l   U.S.C. $$ 8a1(a)(1) and 846, Conspiracy to Dispense a

Controlled Substance Outside the Scope of Legitimate Medical Practice and Not for a Legitimate

Medical Purpose, the maximum penalty the Court may impose is 20 years imprisonment and                 a


                                                      5




           Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 5 of 17
$1,000,000.00 fine, with not less than three (3) years of supervised release to follow any term    of

imprisonment imposed.

       The defendant understands that for each count ofconviction the Court shall impose a $ 100

mandatory special assessment which must be paid in full prlor to sentencing in this case. Failure

to timely pay saidassessment can result in the Govemment seeking a continuance ofthe sentencing

until it is paid OR, in the altemative, the Govemment can consider the failure to timely pay it   as a


violation ofthis plea agreement and seek to have this agreement voided.

       6.    Sentencing Procedures. The defendant acknowled ges, understands and agrees to the

following:

                 a. in determining     the appropriate sentence, the Court   will
                                                                            consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however, are advisory in nature, and the
       Court may impose a sentence either less than or greater than the defendant's
       applicable Guidelines range, and may impose either concurrent sentences or
       consecutives sentences;

                 b. the Court will determine the defendant's         applicable Sentencing
       Guidelines range at the time of sentencing;

                 c.
                  in addition to a sentence of imprisonment as to Count Six, the Court
       shall impose a term ofsupervised release ofnot less than three (3) years;

                 d. if the defendant
                                   violates a condition of supervised release, the Court
       may revoke that supervised release and impose an additional period of
       imprisonment without credit for time previously spent on supervised release. In
       addition to a new term of imprisonment, the Court also may impose a new period
       of supervised release;

                 e.the Court may impose any sentence authorized by law, and may impose
       those sentences concurrently or consecutively, and may impose a sentence that is
       outside of, or departs from, the applicable Sentencing Guidelines range;

                 f.   any sentence of imprisonment imposed by the Court   will not allow for
       parole;

                 g.
                 the Court is not bound by any recommendation regarding the sentence
       to be imposed or by any calculation or estimation of the Scntencing Guidelines

                                                   6




         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 6 of 17
       range offered by the parties or the United States Probation Office;

               h.  the defendant may not withdraw this guilty plea solely because of the
       nature or length of any sentence imposed by the Court;

       7.   Government's Asreements. Based upon evidence in its possession at this time, the

United States agrees, as part of this plea agreement, agrees not to bring any additional charges

against defendant for any federal criminal offenses related to the charges defendant has pled to

herein for which it has venue and which arose out ofthe defendant's conduct described above.

       The defendant recognizes that the United States' agreement to forego prosecution ofall           of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement and the limitations set out herein.             If   the defendant

breaches this plea agreement, the United States retains the right to proceed with the original

charges and any other criminal violations established by the     evidence. The defendant expressly

waives any right to challenge the initiation ofthe dismissed or additional charges against defendant

ifdefendant breaches this agreement. The defendant expressly waives any right to assert a statute

of limitations defense   if   the dismissed or additional charges are initiated against defendant

following a breach of this agreement. The defendant further understands and agrees that if the

Govemment elects to file additional charges against defendant following breach of this plea

agreement, defendant   will not   be allowed to withdraw this guilty plea.

       The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act ofphysical or sexual violence, or a

conspiracy to commit any such acts of violence. Further, the defendant understands that this

agreement does not foreclose prosecution of any criminal activity of which the United States has

no knowledge. The defendant understands and agtees that           if   the Government files additional

charges against defendant for one ofthese exceptions, defendant        will not   be allowed to withdraw


                                                    7




          Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 7 of 17
this guilty plea.

        8.   Preparation of Presentence Report. The defendant understands the United               States

will provide to the Court and the United    States Probation Offrce a government version of the

offense conduct. This may include information conceming the background, character, and

conduct of the defendant, including the entirety of defendant's criminal activities. The defendant

understands these disclosures are not limited to the counts to which defendant has pleaded guilty.

        The United States may respond to comments made or positions taken by the defendant,

defendant's counsel   or anyone on defendant's behalf and to correct any misstatements or

inaccuracies. The United States further reserves its right to make any recommendations it deems

appropriate regarding the disposition ofthis case, subject only to any limitations set forth in this

plea agreement. The United States and the defendant expressly reserve the right to speak to the

Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal Rules of Criminal

Procedure.

        9.   Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant's plea of guilty and

its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored

to their pre-plea agreement positions to the fullest extent possible. However, after the plea has

been formally accepted by the Court, the defendant may only withdraw these pleas of guilty         if   the

Court rejects the plea agreement or if the defendant can show a fair andjust reason for requesting

the withdrawal. The defendant understands that       if the Court   accepts defendant's pleas of   guilty

and this plea agreement but subsequently imposes a sentence that is outside the defendant's

applicable Sentencing Guidelines range, or imposes a sentence that the defendant does not expect,

like or agree with, that will not permit defendant to withdraw these pleas of guilty.


                                                 8




          Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 8 of 17
        10.   Asreed Guidelines Applications. With res pect to the application ofthe Sentencing

Guidelines to this case, the parties stipulate and agree as follows:

                a.   The Sentencing Guidelines do not bind the Court and are advisory in
       nature. The Court may impose a sentence that is either above or below the
       defendant's applicable Guidelines range and may impose that sentence concurrently
       or consecutively;

                b. As to Count One, the applicable Guidelines section for the offense of
       conviction is U.S.S.G. $ 2B 1.1, which provides for a not less than a base offense
       level 6. The parlies further agree that because the amount of the loss exceeded
       $ 1,500,000, sixteen ( 16) levels should be added pursuant to Section 28 l.l (bX1)(D.
       In addition, because the parties agree that defendant was convicted of a Federal
       health care offense involving a Govemment health care program and the loss to the
       Govemment health care program was more than $1,000,000.00, the base offense
       level should be further increased by two (2) levels pursuant to Section 2B 1. I (b)(7).
       Lastly, the parties agree that pursuant to Section 381.3, two (2) levels should be
       added because defendant abused a position of public or private trust, and used a
       special skill in a marmer that significantly facilitated the commission of the of
       offense. As a result, defendant's adjusted Offense Level as to Count One shall be
       not less than level 281

               c. As to Count Six, the applicable Guidelines section for the offense of
       conviction is U.S.S.G. $ 2Dl.l, which provides for not less than a base offense
       level 16. The parties agree that pursuant to Section 3B1.3, two (2) levels should
       be added because defendant abused a position ofpublic or private trust, and used a
       special skiil in a manner that significantly facilitated the commission of the of
       offense. As a result, the defendant's adjusted Offense Level at to Count Six shall
       be not less than level 18.

               d.       The parties agree to recommend that defendant is eligible for the
       "safety va1ve" as defined by Section 5C1.2, subject to the Probation Office's
       investigation of his criminal history. The parlies are in agreement that the
       defendant did not use violence or any credible threat of violence or possess a
       firearm or any other dangerous weapon; the parties are in agreement that the offense
       did not result in death or serious bodily injury; the parties are in agreement that the
       defendant was not an organizer, leader, manager, or supervisor of others in the
       offense, and; the parties are in agreement that the defendant has truthfully provided
       the Governrnent all information he has conceming the offense.

               e.     While the parties recognize there might be additional specific
       aggravating or mitigating U.S.S.G. applications applicable to this defendant, the
       parties elect to address at the sentencing hearing any such additional adjustments
       found by the pre-sentence report or Court and agree to be bound by the Court's
       determination following the sentencing hearing;

                                                  9




          Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 9 of 17
       f.    The defendant appears to have admitted his guilt and accepted
responsibility for his actions, and by timely notifying authorities ofthe intention to
enter a plea of guilty has thereby permitted the Govemment to avoid preparing lor
trial and permitted the Government and the Court to allocate their resources
efficiently. Therefore, the defendant appears entitled to a three-level reduction
pursuant to $ 3El.l(b) of the Sentencing Guidelines and the Govemment, at the
time of sentencing, will make a motion rvith the Court to that effect unless the
defendant ( 1) fails to abide by all ofthe terms and conditions ofthis plea agreement
and any pretrial release orders; or (2) attempts to withdraw this guilty plea; or
(3) violates the law; or (4) otherwise engages in conduct inconsistent with an
acceptance of responsibility;

        g. There is no agreement between the parties regarding the defendant's
criminal history category, including whether said criminal history or lack of
criminal history otherwise affects the ultimate guideline or statutory sentence. The
parties agree that the Court will determine the applicable criminal history category,
and any statutory or guideline sentence increase or decrease as a result thereof, after
receipt of the presentence investigation report prepared by the United States
Probation Office;

       h.   The defendant understands that the estimate of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does
not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure ofthe Court to accept these
stipulations will not, as outlined in Paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw this plea of guilty;

       i. The parties agree to seek a sentence within the ultimately determined
Guideline range based on any good fai* sentencing arguments they care to make
and that do not violate any other agreements herein. The sentencing argument
agreements by the parties are not binding upon the Court or the United States
Probation Office and the Court may impose any sentence authorized by law,
including any sentence outside the applicable Guidelines range that is not
"unreasonable;"

       j. The defendant consents to judicial facrfinding by a preponderance of
the evidence lor all issues pertaining to the determination of the defendant's
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination
beyond a reasonable doubt ofall facts used to determine and enhance the sentence
imposed, and waives any right to have those facts alleged in the Criminal
Information. The defendant also agrees that the Court, in finding the facts relevant
to the imposition of sentence, may consider any reliable information, including

                                          10




 Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 10 of 17
       hearsay; and,

               k. The defendant understands and agrees that the factual admissions
       contained in Paragraph 3 or other places within this plea agreement, and any
       admissions made during the defendant's plea colloquy, support the imposition of
       the agreed-upon Guidelines calculations contained in this agreement.

        11. Effect of Non-Agreement on Cuidelines             Applications.    The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed             in   Paragraph 10, and its

subsections. As to any other Guidelines issues, the parties are free to advocate their rcspective

positions at the sentencing hearing.

        12.   Change   in Guidelines Prior to         Sentencing.   The defendant agrees that     if   any

applicable provision ofthe Guidelines changes after the execution of this plea agreement, then any

request by defendant to be sentenced pursuant to the new Guidelines      will make this plea agreement

voidable by the United States at its   option. If the Govemment     exercises its option to void the plea

agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

        13.   Government's Reservation of             h    The defendant understands that the United

States expressly reserves the right in this case to

               a.  oppose or take issue with any position advanced by defendant, or
       anyone on behalf of the defendant, at the sentencing hearing which might be
       inconsistent with the provisions ofthis plea agreement;

              b. comment on the evidence supporting the charges                in the Criminal
       Information;

              c. oppose any arguments and requests for relief the defendant, or anyone
       on defendant's  behalf, might advance on an authorized appeal from the sentences
       imposed and that the United States remains free on appeal or collateral proceedings
       to defend the legality and propriety of the sentence actually imposed, even if the
       Court chooses not to follow any recommendation made by the United States; and



                                                  ll


         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 11 of 17
                  d.   oppose any post-conviction motions for reduction of sentence, or other
        relief.

        14. \Yaiver of Constitution        al    h     The defendant, by pleading guilty, acknowledges

that defendant has been advised of, understands, and knowingly and voluntarily waives the

following rights:

                  a.   the right to plead not guilty and to persist in a plea of not guilty;

                  b.the right to be presumed innocent until defendant's guilt has been
        established beyond a reasonable doubt at trial;

                  c.the right to a jury trial, and at that trial, the right to the effective
        assistance of counsell

                  d.the right to confront and cross-examine the witnesses who testifu
        against the defendant at trial;

                  e.the right to compel or subpoena witnesses to appear on defendant's
        behalfat trial; and

                  f.   the right to remain silent at trial, in which case that silence may not be
        used against defendant.

        The defendant understands that by pleading guilty, he waives or gives up those rights and

that there   will be no trial. The defendant further understands that if      he pleads guilty, the Court

may ask questions about the offense or offenses to which defendant pleaded guilty, ard              if   the

defendant answers those questions under oath and in the presence ofcounsel, those answers may

later be used against defendant in a prosecution for peq'ury or making a false statement. The

defendant also understands he has pleaded guilty to a felony offense and, as a result, will lose the

right to possess a firearm or ammunition and might be deprived ofother rights, such as the right

to vote or register to vote, hold public office, or serve on a jury.

        15. Waiver of Appellate         an Post-Conviction Rishts.

                  a.
                   The defendant acknowledges, understands and agrees that by his
        unconditional plea of guilty pursuant to this plea agreement he waives the right to

                                                      t2




         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 12 of 17
       appeal or collaterally attack a finding ofguilt or denial ofa motion to withdraw his
       guilty pleas following the acceptance of his pleas of guilty pursuant to this plea
       agreement, except on grounds of (1) ineffective assistance of counsel; or
       (2) prosecutorial misconduct.

               b.   The defendant expressly waives the right to appeal any sentence,
       directly or collaterally, on any ground except claims of(1) ineffective assistance of
       counsel; (2) prosecutorial misconduct; or (3) an illegal sentence, which specifically
       means a sentence imposed in excess of the stafutory maximum. A misapplication
       of the Sentencing Guidelines, an abuse of discretion, or the imposition of an
       unreasonable sentence, is zol an "illegal sentence" and therefore are not appealable.
       However, if the United States exercises its right to appeal the sentence imposed as
       authorized by l8 U.S.C. 5 3742(b), the defendant is released from this waiver and
       may, as part ofthe Govemment's appeal, cross-appeal the sentence as authorized
       by l8 U.S.C. $ 37a2(a) with respect to any issues that have not been stipulated to
       or agteed upon in this agreement.

               c.     The defendant expressly waives the right to appeal any conviction
       and,/or the Court's acceptance of his plea  of guilty, on any ground based upon a
       challenge to the Constitutionality of any statute forming the basis of any criminal
       charge made against him.

       16.   Financial Obligations, By cntcring into this plea agreement, thc defendant states

an understanding    ofand agrees to the following financial obligations:

               a. The United States may use the Federal Debt Collection Procedures Act
       and any other remedies provided by law to enforce any restitution order that may
       be entered as part ofthe sentence in this case and to collect any fine or costs.

                b. The defendant will fully and truthfully disclose all assets and property
       in which defendant has any interest, or over which the defendant exercises control
       directly or indirectly, including assets and property held by a spouse, nominee or
       other third party. The defendant's disclosure obiigations are ongoing, and are in
       force from the execution of this agreement until the defendant has satisfied the
       restitution or fine or costs order in full.

              c.  Within l0 days ofthe execution ofthis plea agreement, at the request of
       the USAO, the defendant agrees to execute and submit (1) a Tax lnformation
       Authorization form; (2) an Authorization to Release hformation; (3) a completed
       financial disclosure statement; and (4) copies of financial information that the
       defendant submits to the U.S. Probation Office. The defendant understands that
       compliance with these requests will be taken into account when the United States
       makes a recommendation to the Court regarding the defendant's acceptance of
       responsibility.



                                                  l3




        Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 13 of 17
                d. At thc request of the USAO, the defendant agrees to undergo any
        polygraph examination the United States might choose to administer conccming
        the identification and recovery of substitute assets, restitution, fines, or costs.

                e. The defendant hereby authorizes the USAO to obtain a credit report
        pertaining to defendant to assist the USAO in evaluating the defendant's ability to
        satisfy any financial obligations imposed as part ofthe sentence.

                f. The defendant understands that a Special Assessment will be imposed
        as part of the sentence in this case. The defendant promises to pay the Special
        Assessment of $200.00 by submitting a satisfactory form of payment to the Clerk
        of the Court prior to appearing for the sentencing proceeding in this case. The
        defendant agrees to provide the Clerk's receipt as evidence of fulfrllment of this
        obligation at the time of sentencing.

                g. The defendant certifies that no transfer of assets or property has been
        made for the purpose of (1) evading financial obligations created by this
        Agreement; (2) evading obligations that may be imposed by the Court; nor
        (3) hindering efforts of the USAO to enforce such financial obligations.
        Moreover, the defendant promises that no such transfers will be made in the future.

                 h. In the event the United States leams of any misrepresentation in the
        financial disclosure statement, or ofany asset in which the defendant had an interest
        at the time of this plea agreement that is not disclosed in the financial disclosure
        statement, and in the event such misrepresentation or nondisclosure changes the
        estimated net wo(h ofthe defendant by ten thousand dollars ($ 10,000.00) or more,
        the United States may at its option: (1) choose to be relieved of its obligations under
        this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
        restitution, and fines imposed by any criminal or civil judgment, and also collect
        100% (one hundred percent) of the value of any previously undisclosed assets.
        The defendant agrees not to contest any collection of such assets. In the event the
        United States opts to be relieved ol its obligations under this plea agreement, the
        defendant's previously entered pleas of guilty shall remain in effect and cannot be
        withdrawn.

        17. Waiver    of FOIA Reouest. The defendant waives any and all rights, whether

asserted directly or by a representative, to request or receive   fiom any department or agency

of the United States any records pertaining to the investigation or prosecution of this case

including, without limitation, any records that may be sought under the Freedom of

Information Act, 5 U.S.C. $ 552, or the Privacy Act of 1974, 5 U.S.C. $ 552a.

        18. Waiver of Claim for Attornev's Fees. The defendant              waives any and al1 claims

                                                   14




         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 14 of 17
under the Hyde Amendment, 18 U.S.C. $ 3006A, for attomey's fees and other litigation expenses

arising out ofthe investigation or prosecution of this matter.

          19.   Defendant Will S urrender to Custodv at the Plea. The defendant understands that

the crime to which he is pieading in Count Six ofthe Indictment is a controlled substance offense

for which a maximum term of imprisonment of ten years or more is prescribed. Accordingly,

pursuant to 18 U.S.C. $ 3143(a)(2), the Court shall detain the defendant after he pleads guilty to

the offense. Should defendant present sufficient facts upon which the Court could find that

immediate detention is not required, the govemment shall take no position on the propriety (or

lack thereol) of self-surrender.

         20.    Defendant's Breach of Plea A gr ee ment.     If   the defendant commits any crimes,

violates any conditions ofrelease, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

defendant provides information      to the Probation Office or the Court that is intentionally

misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

will   be released fiom its obligations under this agreement. The defendant, however,    will remain

bound by the terms of the agreement, and will not be allowed to withdraw this plea of guilty.

         The defendant also understands and agtees that in the event this plea agteement is violated,

all statements made by the defendant to law enforcement agents subsequent to the execution of

this plea agreement, any testimony given by defendant before a grand jury or any tribunal or any

leads fiom such statements or testimony shall be admissible against defendant in any and all

criminal proceedings. The defendant waives any and all rights under the United                 States


Constitution, any statute, Rule I l(f1 ofthe Federal Rules of Criminal Procedure, Rule 410 of the

Federal Rules of Evidence, or any other federal ru1e that pertains to the admissibility of any


                                                  l5




           Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 15 of 17
statements made by defendant subsequent to this plea agreement.

       21.@.Thedefendantacknowledgesthathehasentered
into this plea agreement freely and voluntarily after receiving the eflective assistance, advice and

approval of counsel. The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement. The defendant further acknowledges that no threats or promises, other than

the promises contained in this plea agreement, have been made by the United States, the Court, his

attomey or any other party to induce him to enter this plea of guilty.

       22.   No Undisclosed Terms. The United States and defendant acknowledge and agree

that the above-stated terms and conditions, together with any written supplemental agreement that

might be presented to the Court in camera, constitute the entire plea agreement between the parties,

and that any other terms and conditions not expressly set forth in this agreement or any written

supplemental agreement do not constitute any part of the parties' agreement and         will not be

enforceable against either   party. Nothing contained herein limits the rights and authority of the

United States or any State to take any civil, tax, licensing, or administrative action against the

defendant, including program exclusion, debarment, license revocation, or de-listing.

       23.   Standard of Interpretation. The parties agree that, unlcss the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any




                                                 l6




         Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 16 of 17
drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or   modiflng this   agreement.




                                      JEFFERSON B. SESSIONS
                                      United States Attomey General


ou,"a,   rl\2,1orr                    /s/ Sirena Miller Wissler
                                      Sirena Miller Wissler
                                      Special Attomey to the United States Attomey General




        I have consulted with my attomey and fully understand all of my rights with respect to the
offenses charged in the Criminal Information. Further, I have consulted with my attomey and
fully understand my rights with respect to the provisions ofthe Sentencing Guidelines and any
statutory minimums. I have read this plea agreement and carefully reviewed every part of it with
my attomey. I understand this plea agreement and I voluntarily agree to it.




Dated:       , 2018                   /sl
                                      JOHN   . VERSTRAETE
                                      Defendant




         I am the attomey for defendant JOHN C. VERSTRAETE I have fully explained to him
all his rights with respect to the offenses charged in the Criminal Information. Further, I have
reviewed with him the provisions of the Sentencing Guidelines and any statutory minimum
sentences which might apply in this case. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and beliet the decision by JOHN
VERSTRAETE to enter into this plea agreement is an informed and voluntary one.




out"a,f{tTzon                         lsl
                                      CHRISTOPHER J. ANGLES
                                      Attomey for Defendant




                                                  t7




          Case 4:16-cr-00348-GAF Document 81 Filed 04/26/18 Page 17 of 17
